CHAPTER 11 OPERATING ORDER FORM                        11/00                                INDIVIDUAL BA-01
                United States Bankruptcy Court - Northern District of Alabama
                   John & Helen Stoddart                        19-80272                                  2-28-19
  CASE NAME: __________________________             CASE NO. :______________          MONTH ENDING:__________

                       Operating reports are to be filed monthly, in duplicate, with the
                           Bankruptcy Clerk’s Office by the 15th of each month

                              INDIVIDUAL DEBTOR’S AFFIRMATIONS
                  ✔
           YES        NO       All post petition individual taxes have been paid and the deposit slips are
                               attached.

                If you answered “No” to the above, list the types of taxes that are now due and owing.

                              TYPE OF TAX                                     AMOUNT
                                                           $
                                                           $
                                                           $
                                                           $

      2.   YES    ✔
                      NO      Adequate insurance on all assets/property including fire, theft, liability, collision
                              and casualty is currently in full force and effect.

            If no, enter:        TYPE(S)                                                               not in force.



                       Bank                         Account No.                            Type of Acct. Balance
    List All
Bank Accounts        Regions
                   1._________________________ 0272654597
                                               ____________________________                Checking $__________
                                                                                           _________ 3.185.08
                     Regions
                   2._______________________         0272654384
                                                     __________________________            Savings $_________
                                                                                           ________  14,260.86
                     Bank of America
                   3._______________________         2002815058
                                                     __________________________            Checking  3,357.45
                                                                                           ________ $_________

      4.   YES    ✔
                      NO       Copies of all banks statements and reconciliations are attached.

                  ✔
      5.   YES        NO       I have otherwise complied with all requirements of the Chapter 11
                              Operating Order.

                  ✔
      6.   YES        NO       All financial statements filed with the Bankruptcy Clerk’s Office are
                              prepared in accordance with generally accepted accounting principles.

      7.   YES___ NO ___ I have attached a list of all post petition creditors that have been incurred since the
                        filing of this case but that have not been paid, including Court approved
                        professional (attorney, accountant, etc.) fees.

I CERTIFY THAT THE ABOVE INFORMATION IS TRUE TO THE BEST OF MY KNOWLEDGE AND BELIEF.

           March 7, 2019                                                John Stoddart
         3/7/2019
 DATE __________________________                                        ______________________________
         (301) 254-5455
PHONE ______________________                                                 RESPONSIBLE PARTY

                                 Bankruptcy Administrator Form Individual BA-01




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    United States Bankruptcy Court          Northern District of Alabama Northern Division

            John & Helen Stoddart                  19-80272                            2-28-19
CASE NAME: ___________________         CASE NO. :______________      MONTH ENDING:__________

             Individual Debtor’s Cash Receipts and Disbursement               BA-02
Receipts/Income (GROSS) —Salary                                          650
                                                                       $ __________
       Alimony, Maintenance, Support received                            __________
       Other Income
           Interest                                                      __________
           Sale/rent of real estate or personal property                 __________
           Social Security                                               __________
            Pension
            Monthly or Retirement
                     Dividend  Disbursement                              $5,100
                                                                         __________
            Other (specify) Business Income                              $2,712.54
                                                                         __________
TOTAL RECEIPTS/INCOME                                                    $8,462.54
                                                                         __________

DISBURSEMENTS/EXPENSES (INCLUDE EMPLOYER DEDUCTIONS)
    Food                                                                 $989.57
                                                                         __________
    Home Expenses                                                        __________
       Rent or Home Loan                                                 __________
       Real Estate Tax                                                   __________
       Gas                                                               __________
       Water                                                             __________
       Telephone                                                         __________
       Other Utilities(specify) Electric,
                                _______________
                                          Propane & Water                $1,055.38
                                                                         __________
    Home Maintenance (repairs and upkeep)                                __________
    Insurance Payments                                                   __________
       Life                                                              $669.24
                                                                         __________
       Health                                                            __________
       Auto                                                              __________
       Home owners or renters                                            __________
       Other (specify)_______________________                            __________
    Installments Loan Payments
       Auto Loan                                                         __________
       Other loans (specify)__________________                           __________
    Taxes withheld or Quarterly Income Taxes                             $120.59
                                                                         __________
    School or Day Care Expense                                           $1,596
                                                                         __________
    Laundry and Dry Cleaning                                             __________
           Personal (see attached)
    Other_________________________________                               $4,383.54
                                                                         __________
      Total Business Expenses (see attached)
     _____________________________________                               $1,100.46
                                                                         __________
TOTAL ALL DISBURSEMENTS/EXPENDITURES                                     $10,374.56
                                                                         __________
TOTAL INCOME LESS TOTAL EXPENDITURES                                     -$1,912.02
                                                                        $__________
                       $22,234.03
Beginning Cash Balance$____________                  Ending Cash Balance$ _________
                                                                          $20,803.39


I CERTIFY THAT THE ABOVE INFORMATION IS TRUE TO THE BEST OF MY
KNOWLEDGE AND BELIEF.
    3-12-2019
Date________________________                                ______________________________
                                                            RESPONSIBLE PARTY


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                                     Other Expenses
                                           Personal        Business               Total

  Air Travel                                  $0.00        -$105.38           -$105.38

  Auto & Transport                          -$507.16          $0.00           -$507.16

  Business Meals & Ent                        $0.00        -$121.71           -$121.71

  Business Services                         -$128.00          $0.00           -$128.00

  Clothing                                   -$68.54          $0.00            -$68.54

  Electronics & Software                      $0.00        -$149.00           -$149.00

  Fees & Charges                              -$0.85        -$15.00            -$15.85
  Gas & Fuel                                -$380.81          $0.00           -$380.81
  Gift                                       -$56.04          $0.00            -$56.04
  Health & Fitness                           -$32.67          $0.00            -$32.67

  Home                                      -$530.52          $0.00           -$530.52

  Home Improvement                           -$78.24          $0.00            -$78.24

  Home Services                             -$104.78          $0.00           -$104.78

  Hotel                                     -$237.80          $0.00           -$237.80

  Internet                                    $0.00         -$94.95            -$94.95

  Kids Activities                           -$555.00          $0.00           -$555.00
  Lawn & Garden                             -$355.00          $0.00           -$355.00
  Mobile Phone                                $0.00        -$445.78           -$445.78

  Movies & DVDs                               $0.00         -$15.54            -$15.54

  Parking                                     $0.00         -$28.00            -$28.00

  Pet Food & Supplies                         -$7.91          $0.00              -$7.91

  Pharmacy                                   -$67.84          $0.00            -$67.84

  Research Expenses                           $0.00         -$10.89            -$10.89

  Service & Parts                            -$64.67          $0.00            -$64.67

  Shopping                                  -$166.71          $0.00           -$166.71
  Studio Supplies                             $0.00         -$39.67            -$39.67
  Subscriptions                               $0.00         -$74.54            -$74.54

  Television                                  $0.00           $0.00              $0.00

  Tuition                                 -$1,041.00          $0.00          -$1,041.00

  Total                                   -$4,383.54      -$1,100.46         -$5,484.00




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